181 F.2d 94
    William Richard WILLIAMSv.William H. HIATT, Warden, United States Penitentiary,Atlanta, Georgia.
    No. 13090.
    United States Court of Appeals Fifth Circuit.
    April 20, 1950.
    
      Appeal from the United States District Court for the Northern District of Georgia, E. Marvin Underwood, Judge.
      William Richard Williams, in pro. per.
      J. Ellis Mundy, U.S. Atty., and Harvey H. Tisinger, Asst. U.S. Atty., Atlanta, Ga., for appellee.
      Before HUTCHESON, Chief Judge, and McCORD and WALLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment of the lower court is affirmed.
    
    